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                                                                                Robert B. Pincus
                                                                                  Special Master
                                                                        108 Rockford Grove Lane
                                                                          Wilmington, DE 19806

                                            May 9, 2021

BY CM/ECF

The Honorable Leonard P. Stark
Chief Judge
U.S. District Court for the District of Delaware
U.S. Courthouse
844 North King Street
Wilmington, DE 19801-3570

                 Re:    Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                        D. Del. C.A. No. 1:17-mc-00151-LPS

Dear Chief Judge Stark:

       Pursuant to Your Honor’s Memorandum Order (D.I. 258), submitted herewith is a
Proposed Order Regarding Special Master.

        Despite the good faith efforts of the parties and ConocoPhillips, which spent a good
portion of the last several days working together to reach an agreed upon proposed order, there
are two matters in the attached proposed order, which have not been agreed to. First, are the
various references to OFAC considerations in the proposed order and second is ConocoPhillips’
opposition to the magnitude of the aggregate fees and expenses of the Special Master that may be
incurred in connection with submitting the Proposed Sales Procedures Order to the Court. Other
than those two matters, to the best of my knowledge, all other provisions of the proposed order
have been agreed to by the parties and ConocoPhillips.

          I am available at the convenience of the Court, should Your Honor have any questions.


                                                     Respectfully submitted,

                                                     /s/ Robert B. Pincus

                                                     Robert B. Pincus

RBP
Enclosure
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